Case 24-11987-pmm

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United States Bankruptcy Court for the:
EASTERN DISTRICT OF PENNSYLVANIA

Case number (if known) Chapter 11
DO Check if this an
amended filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 06/22

If more space is neaded, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-individuals, is available.

1. Debtor's name

Mountain Due, LLC d/b/a The Melting Pot Bethlehem

2. Allother names debtor
used in the last 8 years

Include any assumed
names, trade names and
doing business as names

3. Debtor's federal
Employer (dentification
Number (EIN)

XX-XXXXXXX

4. Debtor's address

Principal place of business

1 East Broad Street
Suite 100
Bethlehem, PA 18018

Mailing address, if different from principal place of
business

Number, Street, City, State & ZIP Code

Northampton

County

P.O. Box, Number, Street, City, State & ZIP Code

Location of principal assets, if different from principal
place of business

Number, Street, City, State & ZIP Code

5. Debtor's website (URL)

www.meltingpot.com

6. Type of debtor

£3 Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership {(LLP))

[) Partnership (excluding LLP)
L] Other. Specify:

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Debtor ~~ Mountain Due, LLC d/b/a Fhe Melting Pot Bel GKd

cument Page 2 of... number (if known)

Name

7. Describe debtor's business

A. Check one:

Health Care Business (as defined in 11 U.S.C. § 101(27A)}
Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B)})
Railroad (as defined in 11 U.S.C. § 101(44})

Stockbroker (as defined in 11 U.S.C. § 101(53A))

Commodity Broker (as defined in 11 U.S.C. § 101(6))
Clearing Bank (as defined in 11 U.S.C. § 781(3))

None of the above

HOOOOOO

B. Check ail that apply

CO Tax-exempt entity (as described in 26 U.S.C. §501)

C1 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
O tnvestment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

GC. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
hitp://www.uscourts.gov/four-digit-national-association-naics-codes.

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small
business debtor’ must check
the first sub-box. A debtor as
defined in § 1182(1) who
elects to proceed under
subchapter V of chapter 11
(whether or not the debtor is
a “small business debtor”)
must check the second
sub-box.

Check one:

O Chapter 7

O Chapter 9

Gd Chapter 11, Check ail that apply.

(1 The debtor is a small business debtor as defined in 11 U.S.C. § 101(510}, and its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
$3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
operations, cash-flow statement, and federal income tax return or if any of these documents do not
exist, follow the procedure in 11 U.S.C. § 1116(1}(B).

(1 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
dabts (excluding debts owed to insiders or affiliates) are lass than $7,500,000, and it chooses to
proceed under Subchapter V of Chapter 11. If this sub-box is selacted, attach the most recent
balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1})(B).

A plan is being filed with this petition.

Acceptances of the plan were solicited prepatition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).

Cs The debter is required to file periodic reports (for example, 10K and 10Q) with the Securities and
Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
Attachment to Voluntary Petition for Non-individuals Filing for Bankruptcy under Chapter 11
{Official Form 201A) with this form.

CJ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

OO

O Chapter 12

9. Were prior bankruptcy
cases filed by or against
the debtor within the fast §
years?

If more than 2 cases, attach a
separate list.

LJ No.
KX Yes.

District Eastern District of PA When 7/2/18 Case number 18-14420

District When Case number

10. Are any bankruptcy cases
pending or being filed by a
business partner or an
affiliate of the debtor?

List all cases. If more than 1,
attach a separate list

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i] No
OD Yes.

Debtor Relationship

District When Case number, if known

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Debtor Mountain Due, LLC d/b/a The Melting Pot BelnBish Ase number (if known)

11. Why is the case filed in Chack ail that apply:

this district? EJ = Debtor has had its domicile, principal place of business, or principal assets in this district far 180 days immediately

preceding the date of this petition or for a longer part of such 180 days than in any other district.
O_sA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does thedebtorownor [No
have possession of any LL Yes.
real property or personal
property that needs
immediate attention?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why dees the property need immediate attention? (Check all that apply.)
CJ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

CJ It needs to be physically secured or protected from the weather.

CJ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods, meat, dairy, produce, or securitias-related assets or other options).

OD Other

Where is the property?

Number, Street, City, State & ZIP Cade
Is the property Insured?
CJ No

OO Yes. Insurance agency

Contact name

Phone

a Statistical and administrative information

13. Debtor's estimation of . Check one:

available funds (J Funds will be available for distribution to unsecured creditors.

After any administrative expenses are paid, no funds will be available to unsecured creditors.

14, Estimated number of Ed 1-49 CJ 1,000-5,000 C0 25,001-50,000
creditors 50-99 OJ 5001-10,000 O 50,001-100,000
(J 100-199 (D2 10,001-25,000 C1 More than100,000
O 200-999
15. Estimated Assets CJ $0 - $50,000 Pd $1,000,001 - $10 million $500,000,001 - $1 billion

C1 $80,001 - $100,000
(J $100,001 - $500,000
(0 $800,001 - $1 million

0 $10,000,001 - $50 million
C1 $50,000,001 - $100 mitlion
C1 $100,000,001 - $500 million

Oo

DD $1,000,900,001 - $10 billion
CJ $10,000,000,001 - $50 billion
C0 More than $50 billion

16. Estimated liabilities 0 $0 - $50,000
O $50,001 - $100,000
0 $100,001 - $500,000
0 $500,001 - $1 million

B $1,000,001 - $10 million

OF $10,000,001 - $50 million

01 $50,000,001 - $100 million

OF $100,000,001 - $500 million

D $500,000,001 - $1 billion

OF $1,000,000,001 - $10 billion
OF $10,000,000,001 - $50 billion
O More than $50 billion

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Debtor Mountain Due, LLC d/b/a The Meiting Pot Bethishem Case number (7 known)
Name

aa Request for Rellef, Dectaration, and Signatures

WARNING — Bankruptcy fraud is a serious crime. Making a false ee in connection with a bankruptcy case can result in fines up to $500,000 or
imprisonment for up to 20 years, of doth, 18.5.6. $9 152, 1244, 1543, and 3671.

17. Daciaration and signature

of authorized The debtor requests relief in accordance with the chapter of ttle 11, United States Code, specified in this petition.
representative of debtor

| have been authorized to file this petition on behalf of the dabtor.

lhave examined the information In this petition and have a reasonable Delief that the information ia true and correct.

I declare under panalty of perjury that the foregging is true and correct.

Exegyted on mpretipen

i WMA i (Co
Xx Christopher McCarthy
Signature of - M representative ___. debtor Printed name

Tite Vice President, Authonzed Signer

i

18, Signature of attorney Date June 10, 2024

MM /OD/YYYY

Albert A. Clardi,, Ill 63898

Printed name

Ciardi Ciardi and Astin

Firm name

1905 Spruce Streat
Philadelphia, PA 19403

Number, Street, City, State & ZIP Cade

Contact phone (215) 557-3550 Email address §_aciardi@ciardilaw.com

PA - 63598
Bar number and State

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